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MDL
EXHIBIT S

Case T0r-tv-12257-PBS” Document 4966-1T Filed 12/31/07 Page 2 ot 14
From: Dauphine, Dawn
Sent: Tuesday, November 20, 2007 1:33 PM
To: Haviland@HavilandLaw.com; Larry Crown; Jorge Franco
Subject: Swanston

Don, Larry, and Jorge:
As you know, on October 12, the parties stipulated to vacate the status conference and indicated that they would

be filing within about 30 days a proposed stipulation to dismiss certain defendants. We have prepared the
attached proposed stipulation and order for dismissal of certain defendants. Please confirm that these are
acceptable and that you will be filing them with the court.

Thank you.

Dawn Dauphine

Dawn L. Dauphine
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IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF MARICOPA

ROBERT J. SWANSTON, individually and CV2002-004988
on behalf of himself and all others similarly

situated,
Plaintiff,

OF CERTAIN DEFENDANTS
WITHOUT PREJUDICE

VS.

TAP PHARMACEUTICAL PRODUCTS,

)
)
)
) STIPULATION FOR DISMISSAL
)
)
)
INC.; et al., )
)

(Assigned to the Honorable Janet E.
Defendants. ) Barton)

WHEREAS there exist overlapping claims and defendants in this case and in
In re Pharmaceutical Industry Average Wholesale Price Litigation, CA No. 01-
12257-PBS, MDL No. 1456 (D. Mass.) (“MDL NO. 1456”); and

WHEREAS to eliminate these overlapping claims and defendants, Plaintiff
Robert J. Swanston and the defendants below have agreed that Plaintiff will dismiss
without prejudice all claims against the overlapping defendants;

THEREFORE the parties agree as follows:

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(1)

(2)

the following defendants may be dismissed without prejudice:
Abbott Laboratories; Amgen Inc.; Zeneca, Inc.; AstraZeneca
Pharmaceuticals L.P.; AstraZeneca LP; Aventis Pharmaceuticals
Inc.; Hoechst Marion Roussel, Inc.; ZLB Behring, L.L.C. (f/k/a
Aventis Behring L.L.C.); Baxter International Inc.; Baxter
Healthcare Corporation; Bayer Corporation; Bristol-Myers
Squibb Co.; Oncology Therapeutics Network Corp.; Apothecon,
Inc.; Dey, Inc.; Fujisawa Healthcare, Inc.; Fujisawa USA, Inc.;
Immunex Corporation; Johnson & Johnson; Centocor, Inc.;
Ortho Biotech Products, L.P.; Pharmacia Corporation; Pharmacia
& Upjohn LLC, f/k/a Pharmacia & Upjohn, Inc.; Monsanto
Company; Schering-Plough Corporation; Warrick
Pharmaceuticals Corporation; Sicor, Inc.; Gensia, Inc., and
Gensia Sicor Pharmaceuticals, Inc.; and

that subject to and specifically reserving all defenses, the parties
agree that (a) defendants do not waive or release any defenses or
arguments, including but not limited to, any statute of limitations
and/or repose defenses, which could have been asserted prior to
the effective date of the Order granting dismissal, and (b) any
and all applicable statutes of limitations and/or repose are, from
the effective date of the Order granting dismissal and for the
pendency of MDL 1456, tolled and the reinstatement of any
defendant to this action will not trigger a right of removal to

federal court.

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RESPECTFULLY SUBMITTED this __ day of November, 2007.

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-3- 1810815

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Sicor Inc. (f/k/a Sicor Pharmaceuticals, Inc.,
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situated,
Plaintiff,
VS.

TAP PHARMACEUTICAL PRODUCTS,
INC.; et al.,

Defendants.

ROBERT J. SWANSTON, individually and
on behalf of himself and all others similarly

HEREBY ORDERED as follows:

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IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF MARICOPA

CV2002-004988

ORDER DISMISSING CERTAIN
DEFENDANTS WITHOUT
PREJUDICE

(Assigned to the Honorable Janet E.
Barton)

Pursuant to stipulation of the parties and for good cause appearing, IT IS

(1) the following defendants are dismissed without prejudice:
Abbott Laboratories; Amgen Inc.; Zeneca, Inc.; AstraZeneca
Pharmaceuticals L.P.; AstraZeneca LP; Aventis Pharmaceuticals
Inc.; Hoechst Marion Roussel, Inc.; ZLB Behring, L.L.C. (f/k/a

Aventis Behring L.L.C.); Baxter International Inc.; Baxter

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Healthcare Corporation; Bayer Corporation; Bristol-Myers
Squibb Co.; Oncology Therapeutics Network Corp.; Apothecon,
Inc.; Dey, Inc.; Fujisawa Healthcare, Inc.; Fujisawa USA, Inc.;
Immunex Corporation; Johnson & Johnson; Centocor, Inc.;
Ortho Biotech Products, L.P.; Pharmacia Corporation; Pharmacia
& Upjohn LLC, f/k/a Pharmacia & Upjohn, Inc.; Monsanto
Company; Schering-Plough Corporation, Warrick
Pharmaceuticals Corporation; Sicor, Inc.; Gensia, Inc., and
Gensia Sicor Pharmaceuticals, Inc.; and

that subject to and specifically reserving all defenses, the parties
agree that (a) defendants do not waive or release any defenses or
arguments, including but not limited to, any statute of limitations
and/or repose defenses, which could have been asserted prior to
the effective date of the Order granting dismissal, and (b) any
and all applicable statutes of limitations and/or repose are, from
the effective date of the Order granting dismissal and for the
pendency of In re Pharmaceutical Industry Average Wholesale
Price Litigation, CA No. 01-12257-PBS, MDL No. 1456 (D.
Mass.) tolled and the reinstatement of any defendant to this

action will not trigger a right of removal to federal court.

DATED this day of , 2007

The Honorable Janet E. Barton

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